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Juan Rangel

October 6,

2011

 

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IN THE UNITED sTATEs DIsTRIcT coUR'r 1 PRESENT:
NoRTI-IERN DIsTRIcT oF ILLINOIS 2 MAYER BROWN. LLP,
EASTERN DIvIsIoN 3 (71 South Wacker Drive,
coMMITTEE FOR A FAIR AND ) 4 Chicago, illinois 60606,
BALANCED MAP, JUDY BIGGERT, ) 5 312-701-7093), by:
ROBERT J. GoLD, RANDY HULTGREN, ) 6 MS. LORlL|GHTFOOT,
ADAM KINZINGER, DoNALD MANZULLQ, ) 7 appeared on behalf of the P|aintlffs;
PETER J. ROSKAM, BOBBY ) 8 TR|STAN&CERVANTES,
sCHILLING, AARON SCHOCK, JOHN M. ) 9 (30 WestMonroe Street, Suite 630,
sHIMKus, JOE wALsH, RALPH ) 10 Chicago, illinois 60603,
RANGEL, LoU sANDovAL, LUIS ) 11 312-345-9200), by:
sANABRIA, MICHELLE cABALLaRo, ) 12 MR. HOMERO TR|STAN,
EDMuND BREZINSKI, and LAURA ) 13 MS. KERRY RE|DY,
wAXwEILER, ) 14 appeared on behalf of Juan Range|;
Plainciffs, ) 15 POWER ROGERS & SM|TH, P.C.,
vs. ) 1;11-cv-05055 16 (Three First National P|aza,
ILLINoIs sTA'rE BoARD or-‘ ) 17 70 West Madison Street, 55th F|oor,
ELECTIONS, wmle M. M<:GUFFAGE, 1 DEPosITIoN op 18 Chicago, |||inOiS 60602.
JESSE R. sMART, BRYAN A. ) JuAN RANGEL, 19 312-236-9381), by:
scHNEIDER, BETTY J. coFFRIN, ) 10/6/11 20 MR. DEVON C- BRUCE,
HARoLD D. BYERS, JUDITH c. RICE, ) 21 appeared on behalf of the Defendants.
cHARLES w. scHoLz, and ERNEST L_ ) 22 ALSO PRESENT: MR. JOSEPH CERULLO, V|DEOGRAPHER.
GOWEN, ) 23 REPORTED BY: LlSA O'BR|EN, C.S.R.
Defendants. 1 24 CERT|F|CATE NO. 84-3822.
4
1 The videotaped deposition of JUAN RANGEL, 1 THE VlDEOGRAPHER: This is Videotape Number1
2 called for examination, taken pursuant to the 2 of the videotaped deposition of Juan Range| in the
3 Federa| Ru|es of Civi| Procedure of the United 3 matter of The Committee for Ba|anced Map versus
4 States District Courts pertaining to the taking of 4 lSBOE, being heard before the U.S. District Court
5 depositions, taken before LlSA O'BR|EN, CSR 5 for the Northem District of lllinois, Eastern
6 No. 84-3822, a Certified Shorthand Reporter of the 6 Division, Case File Number 11 C 5065.
7 State of ||linois, at Suite 3200, 71 South Wacker 7 This deposition is being held at Mayer
8 Drive, Chicago, |I|inois, on the 6th day of October, 8 Brown, 71 South Wacker Drive, Chicago, ll|inois, on
9 A.D. 2011, at 10:11 a.m. 9 October 6, 2011. The time showing on the video is
10 10 10:11 a.m. My name is Joseph Ceru|lo. lam the
11 11 legal video photographer. The court reporter is
12 12 Lisa O'Brien.
13 13 Counse|, would you please identify
14 14 yourselves for the record?
15 15 MR. BRUCE: Devon, D-e-v-o-n, Bruce on behalf
16 16 of the Defendants.
17 17 MS. L|GHTFOOT: Lori Lightfoot on behalf of the
18 18 P|aintiffs.
19 19 MR. TR|STAN: Homero Tristan on behalf of Juan
20 2 0 Rangel.
21 21 MS. REIDY: Kerry Reidy on behalf of Juan
22 22 Rangel.
23 23 THE VlDEOGRAPHER: Wi|| the court reporter
24 24 please swear the witness.

 

 

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EXHBH

 

 

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Juan Rangel October 6, 2011

 

1 (WHEREUPON, the Witness was duly
2 sworn.)
3 JUAN RANGEL,
4 called as a witness herein, having been tirst duly
5 sworn, was examined and testified as follows:
6 EXAMlNAT|ON
7 BY MS. L|GHTFOOT:
8 Q. Good morning, Nlr. Rangel.
9 A. Good morning.
10 Q. We will try to get through this
11 deposition as expeditiously as possible today. Let
12 me start by, kind of, giving you some rules of the
13 road for deposition, which | think will, hopeful|y,
14 make the process easier for you and for the lawyers
15 who are gathered here.
16 Let me Erst ask, have you ever been
17 deposed before?
18 A. Yes.
19 Q. Okay. How many times?
20 A. One,
21 Q. Okay. And how long ago was that, sir?
22 A. About a month and a half ago, two months
23 ago.
24 Q. Okay. Can you give me, again, in very

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Q. The other thing that‘s important is that
you must answer the questions verbally. And by
that-- again, it's a little artiHcia|, because
when we talk to people in normal conversation, you
use body language, you nod your head, you shrug your
shoulders. You may do other non-verbal responses
But in this context, it's important that you
actually respond verbally. Everyone forgets. |f
you forget, l will remind you. l am sure your very
able Counsel will remind you if you forget. But
that‘s another important rule.

There may be from time to time objections
that are interposed, either from Mr. Bruce or from
your Counsel, to a question that l might ask. That
is kind of standard fare. Lawyers have a right to
object if they think there's some kind of
imperfection with the question. Two things about
that. One, don't be bothered by that, because it
will happen, Two, if someone objects, and unless
your lawyer instructs you not to answer a question,
then you are still obligated to answer the question.

As a matter of course, l have never
seen -- a witness, particularly one who hasn't
testihed a lot, if there are objections, will

7

 

 

high level, the reason why you were deposed about a
month and a half ago?

A. lt was an employment issue at our
schools.

Q. Okay. You probably then got some feel
for the back and forth of the deposition, but let me
give you a couple of reminders then. One of the
most important things is, you see that the court
reporter is taking down a verbatim transcript of
everything that is going to be said here today.
There are a couple of rules that follow from the
fact that there is a verbatim transcript The first
is that it's important for you and for me not to
talk over each other. It's a little artiticial,
because the way that people normally communicate,

\.Om\lU\U`l»¢>L»JNi>-*

i»*i-ii-ii-ii-ii-l
ui»r>wi\)i-io

16 you get the gist of what somebody is saying, you
17 respond, and there's a back and forth, and that‘s
18 normal conversation mode. But in this context with

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\O

the deposition, it's important that you let me
finish answering »~ asking the question, and by the
same token, you -- l will let you fully answer
before you begin - before l begin asking you any
follow-up. Do you understand that?

A. Yes.

NNMMN
»¢-`~W[\Ji-'O

 

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thwt\)i-iokooo~ioxuiu>wi\)r-lo

sometimes tend to forget what the question is, and
that‘s why we have a verbatim transcript. You can
either have the question read back to you or l can
restate it. So don't be thrown off by the fact that
there may be objections But two, if you forget the
question, that‘s also tine, too, because l can

either restate it or we can have the court reporter
read it back.

if there's something about a question
that l ask you that you don't understand, then feel
free to tell me that you don't understand it, l may
press you a little bit and ask you what part you
don't understand or why you don't understand it.
But this is not a memory test. lt's not a guessing
game. lt's just to get what you know as you sit
here today, and what your recollection is. if l ask
a question, though, in such a way that you don't
understand it, feel free to say, l don't understand
it, and then we will try to work through that
together.

You, obvious|y, have Counsel here, and
you should feel free to consult with your Counsel at
any point. le only request, though, is that if
there's a question pending, that you answer the

 

 

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Juan Rangel Oct:ober 6, 2011
9 11
1 question first, and then ask your Counsel whatever 1 (WHEREUF’ON, there Was a short
2 you want. But, obviously, if you can‘t answer the 2 inferrUpfion~)
3 question without consulting with your Counsel, you 3 BY MS» LiGHTFOOT!
4 should just let me know that, and then -- clearly, 4 Q- Aii rignt- YoU are the ohiei executive
5 that is your right as a thness, to Consu|f With 5 OffiC€i' Of Ul’\ifed N€igthl’i’tOOd Ol’gal'iiZainn; iS that
6 your Counsel. 6 oorreof?
7 lt is certainly my objective to stay away 7 A. YeS.
8 from anything -- and l say this more for your 8 Q- For purposes oitoday, i am going to use
9 lawyers than for you -- but to stay away from 9 the shorthand UNO, and l assume you will know what l
10 anything that might even remotely impinge upon 10 mean lS that ali right?
11 attorney/client privilege. | know you are a 11 A- Yes~
12 iitigant in the state redistricting case i am 12 Q. HOW lth have you been the CEO af UNO?
13 going to ask you very little about that; and, 13 A. Fiffeen years
14 frank|y, not even about the case itself. l am going 14 Q- Okay- And Can YoU ieii us» sir. as ihe
15 to ask you about some of your testimony through the 15 job is noW, Wnai your speoiiio responsibilities
16 public hearing process. But cthenii/ise, it's 16 entail as the CEO Of UNO?
17 certainly my hope that l am not going to get into 17 A» it's file oay'io'day management oiine
18 anything that even comes close to attorney/client 18 organization, aiinough» a large pan ofthe
19 privilege But, obviously, if you think it does, 19 organization is managing our charter school
20 you wiii let me know, and then we can, again, work 20 Operatioh, which is ‘- now encompasses 11 SChOOIS,
21 together on either me reasking it, or you will make 21 5»400 Siudenis across ins Ciiy~ And so most of ii
22 your objection 22 has to do with that; the overseeing the academic
23 l don't expect our time here today to be 23 program, the finances, obviously, human resources,
24 particularly long, which is probably a welcome news 24 the operations ofthe organization ‘~
1 0 12
1 for you, as | said before the deposition started, 1 Q. Okay.
2 but l do think it will probably be somewhere between 2 A. - which include the schools
3 one hour and two hours. And | will try to keep it 3 Q. And can you tell me, sir -- obviously,
4 more on the one-hour side than on the two-hour side. 4 the charter school mission is a substantial amount
5 Obviously, | don't know what questions, if any, 5 of what UNO does.
6 Mr. Bruce may have. 6 Aside from that, can you tell me, are
7 That's all a prelude to say, if you need 7 there any other programatic areas that UNO is
8 to take a break, feel free to take a break, And 8 invested in at this point?
9 again, my only request would be that if there's a 9 A. Well, the overall mission of the
10 question pending, answer the question, and then you 10 organization is the empowerment of Hispanic
11 can take a break. 11 communities, and that would entail leadership
12 | have said a lot to you here today, and 12 development programs that we operate, and then just
13 you have been very patient in listening. ls there 13 a host of other programs that are part of the
14 anything that l have said that you don't understand? 14 schools, like after-school programs, and things like
15 A. No. 15 that, that support the school; looking at issues
16 Q. Do you have any -- otherwise have any 16 relevant to our community, whether it's housing
17 questions for me? 17 issues, employment issues, immigration issues,
18 A. No questions. 18 Q. Okay. And l assume -- and you will
19 Q. ls there any reason why you can‘t provide 19 correct me if l am wrong -that UNG is a 501 (c)(3)
20 truthful testimony to the questions that are going 2 0 organization?
21 to be put to you here today? 21 A. Yes.
22 A. No. 22 Q. And l would imagine you rely in part on
23 Q. All right. Then let‘s begin. 23 fundraising and donations from outside of the
24 24 organization itself. ls that correct?

 

 

 

 

 
 

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Juan Rangel. October 6, 2011
13 15

1 A_ Yes. 1 what those various pieces of legislation might be?

2 Q. Okay. Does UNO have any lobbying 2 A. l guess more recently was the Senate Bill

3 operation? 3 7, which was the education bill that was passed.

4 A, Within the organization? 4 There's been looking at funding formulas for

5 Q. Well, whether ~- let's put it this way: 5 schools, for education as well. | don't know that

6 Does UNO either directly or do you hire someone to 6 there WaS a particular bill for thOSe.

7 engage in lobbying on behalf of the various 7 l am trying to think between 2010, 2011.

8 programatic issues with respect to UNO? 8 SO yeS, there'$ been -

9 MR. BRUCE: Object to the form. Go ahead. 9 Q. Okay. l am going to ask you both because
10 BY THE WlTNESS: 10 of the outside noise - you can probably hear the
11 A, We have had -- we have had attorneys that 11 ambulance that seems to be going by -- but also your
12 have represented us in Government. We do advocacy 12 VOlCe is a little low -~ l am sure it's my bad
13 work with our parents as well, depending on the 13 hearing »~ but if you could just keep your voice up
14 issue at hand. 14 a little bit.

15 BY MS. LlGHTFOOT: 15 A. Absolutely.
16 Q. l guess what l was asking is -- and l 16 Q. So you told us that you were ~ you,
17 didn't ask a very good question, as Mr. Bruce, l 17 meaning UNO, was involved in advocating on behalf of
18 think, pointed out. 18 Senate Bill 7, which was the education bill.
19 Let's say in 2010 and 2011, does UNO have 19 A. Uh-huh.
20 anyone acting on its behalf as a registered lobbyist 20 Q. And iS that-- l Will ShOW my ignorance
21 under the laws of the State of ||linois? 21 But is that the bill that got a huge amount of press
22 A. l am going to assume that they are --the 22 about changing the school day, strike rules, and
23 people that we have engaged as consultants within 23 other thingS? lS that the one you are talking
24 the organization are registered lobbyists within the 24 abOUt?
14 16

1 State of lllinois. 1 A. Correct.

2 Q. Okay. And are those individuals engaged 2 Q. Okay. Any other, kind of, legislative

3 in doing any lobbying in Springfield, which is the 3 initiatives regarding Springneld that UNO has been

4 capital? 4 involved in during the, kind of, 2010/2011

5 A. Do they do that? l assume that that's 5 legislative cycle?

6 what they do, yes. 6 A. Legislative and »- l guess l am just

7 Q. Okay. l take it then, sir, that the 7 trying to get clarity on legislative, as in

8 folks that are engaged on behalf of UNO doing 8 specific -

9 lobbying in Springtield are not directly reporting 9 Q. As in Springneld; not, for example, Cook
10 in to you; is that right? 10 County Board, or not the City of Chicago. Butjust
11 A. They do at times. lt depends on what the 11 things that would be pending in front of either
12 project may be. 12 chamber of the General Assembly.

13 Q. Okay. 13 MR. BRUCE: Objection, form.

14 A. So sometimes l am engaged directly with 14 BY THE WlTNESS:

15 them. Other times it's -- might be other staff. 15 A. Ceitainly during the remap discussions.
16 Q. Okay. 16 BY MS. LlGHTFOOT:

17 A. Deperiding on what the issue may be. 17 Q. Okay. And we will talk a little bit

18 Q. Okay. For example, is there any --in 18 about those.

19 the same time period, 2010, 2011 -~ does UNO - has 19 Anything else besides the education bill
2 0 UNO advocated on behalf of any particular 2 0 and then the remap discussion?

21 legislation that's either been introduced or 21 A. No. l am trying to think.

22 potentially introduced down in Springfield? 22 Again, there were -- we were looking at
23 A. Yes. 23 the education funding formula that was separate from
24 Q. Okay. And can you give me a sense of 24 SB 7, but it didn't materialize into any specinc

 

 

 

 

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Juan Rangel Oct:ober 6, 2011
17 19
1 legislation. 1 question.
2 Q. Okay. All right. Let me show you what 2 You testified at various hearings, public
3 we can mark as Exhibit 1. 3 hearings that were held, both before and -- well,
4 MR. BRUCE: Are you going to mark this as a 4 you testified during the spring at various public
5 group exhibit, Lori? 5 hearings that were held by both the Senate and House
5 MS, LiGi-iTFOOT; Correot_ 6 redistricting committees, correct?
7 (WHEREUPON, a certain document was 7 A. Correct.
8 marked Rangel Deposition Exhibit 8 Q. And then you also similarly testified
9 No. Group 1, for identincation, as 9 before both committees after the General Assembly
10 of 10/6/11.) 10 produced a draft -- or a proposed, l should say, map
11 BY MS. LlGl-lTFOOT; 11 for both House districts and Senate districts; is
12 Q. Sir, you have just been handed what's 12 that correct?
13 been marked as Rangel Exhibit Number 1. 13 A. Correct.
14 And so the record is clear, the hrst 14 Q. And as part of your testifying in these
15 page of this multi-page document has the __ your 15 various public hearings, UNO and some other groups
16 name written on top -- and l will ask you whether 16 With WhOm UNO WaS aligned proposed certain
17 that's your handwriting or not-- and it has 17 diStFiCtS; iS that rightl Sir?
18 "Proposed Districts." 18 A. Correct.
19 And then the next page is RD 1. The next 19 Q. And what you have in front of you as
20 page is RD 2. The next page is also RD 2_ The next 20 Group Rangel Exhibit Number 1 were some proposed
21 page is RD 23. The next page is RD 24, RD 3, RD 4, 21 districts that UNO and others put together as part
22 RD 39, RD 40, RD 60, RD 43, RD 77, RD 83. And then 22 oiii'lat prooessi is that Correot?
23 the last page is "Proposed West Chicago District." 23 A. Correct.
24 And these are a series of maps; is that 24 Q. All right. Let me ask you a COup|e
18 2 0
1 correct, sir? 1 questions then about these maps.
2 A. Correct. 2 Who was involved in the drawing of these
3 Q. Have you seen these maps before? 3 maps on behalf of UNO?
4 A. They look very familiar. Yes. 4 MR. BRUCE: lobjeot to the relevancy, to the
5 Q. Okay. ln the top right~hand corner of 5 extent that we are here on the Federal map the
6 the first page, there's handwriting there that 6 Congressional map. Now we are getting into details
7 spells your name, Juan Rangel. 7 of the State Legislative redistricting. And so l
8 A. Correct. 8 would object as to relevance and scope as to this
9 Q. ls that your handwriting, sir? 9 deposition,
10 A. No. 10 MS. LlGHTFOOT: Okay.
11 Q. Are you othenivise familiar with that 11 BY MS. LlGl-lTFOOT:
12 handwriting? 12 Q. You may answer, sir.
13 A. No. 13 A. We were -- there's several of us, myself
14 Q. Okay. Are these, sir, maps that UNO and 14 included, and then our staff, Alfred Quijano --
15 some other allied groups proposed to either the 15 Q. |'m sorry, say again,
16 House or Senate Redistricting Committees as they 16 A. Alfred Quijano.
17 were considering reapportionment of the Genera| 17 Q. Quijano?
18 Assembly districts? 18 A. Quijano, Q~u-i-j-a-n-o, and when we were
19 MR. TR|STAN: Objection, form. 19 looking at the populations for the State map
20 MR. BRUCE: Objection, foundation. 20 districts
21 BY THE WlTNESS: 21 Q. Okay. in drawing these maps, did you --
22 A. l believe so. 22 you or either Mr. Quijano or anybody else that was
23 BY MS. LlGHTFOOT: 23 involved, have any assistance from anybody else?
24 Q. Okay. And again, this is not a trick 24 MR. BRUCE: Same objection as to scope of

 

 

 

 

 

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Juan Rangel OCt:Ober 6, 2011
2 1 23
1 relevancy, as to asking questions of this witness in l Q- A start person from Wnat entity or
2 this case about State Legislative redistricting maps 2 organization'?
3 and districts 3 A. From the State.
4 MR. TR|STAN: Same objection. 4 Q~ FrOm the State?
5 MS. LlGHTFOOT: And -- go ahead. 5 A- Uh~hurl-
6 lVlR. BRUCE: l haven't finished And to the 6 Q- Again» you have to answer verbally-
7 extent that this is going to continue, l will have a 7 A~ Yes» l'rn sorry-
8 standing objection on that, And l don't know how 8 Q- When you say "Frorn tile State»" Wnat rio
9 long lVlr, Rangel's Counsel is going to allow this tc 9 you rnean?
10 go on, but l object because we are here on the lo A- l believe there WaS -- the State made
11 Congressional map, 11 available computers to the public to be able to draw
12 MR. TR|STAN: We have the same objection as 12 our own maps as We saW iit» for our Comrnonity~ And
13 weii_ 13 so at that time, the only ones, as far as l
14 MS_ LlGHTFOOT: Go aheao_ 14 understood, that was available was down in
15 MR. TRlSTAN: And Mr. Rangel will be produced 15 Springiiel<ii- So We Would travel down there to
16 for a deposition in that matter in the next week. 16 access these computers But there wee always e
17 MS. LlGHTFOOT; Fair enough_ | think it's 17 staff person there present as we were working on the
18 relevant to the Congressional map, but you can 18 CornpUterS-
19 certainly have a standing objection, Mr. Bruce. l 19 SO the level Of assistance Was them
20 was actually going to suggest it_ 20 explaining how to draw what you ~- how to manipulate
21 And oertainly, Mr_ i-i;,irnerol if you have a 21 the computer to be able to do what we needed to do.
22 standing ~- or l'm sorry, Tristan -» if you have a 22 But at rio time did they assist us in the physical
23 standing objection, you can make it. But l will tie 23 drawing of the maps-
24 it into this particuiar iitigaiion_ 24 Q. All right. Let me make sure l understand
22 24
1 l have now forgotten the question, l 1 the distinction you are drawing.
2 know you nodded your head. 2 So from time to time, you and others
3 MR. BRUCE: That was your last question, Lori. 3 would travel to Springfield and meet with some State
4 You were done. 4 employee; is that correct?
5 MS. LlGHTFOOT: Mr. Bruce, if you would give me 5 A. We would have to go in and, kind of,
6 a moment, please. 6 register --
7 MR. BRUCE: That was a stab at levity. 7 Q. Okay.
8 MS. LlGHTFOOT: Why don't we go back and read 8 A. -- to use the computers
9 the question, because l have now forgotten it myself 9 Q. Okay.
10 after this long colloquy. 10 A. And the -~ and so there would be a staff
11 (WHEREUPON, the record was read by 11 person that would be present
12 the reporter.) 12 Q. Okay. And where would you actually
13 BY THE WlTNESS: 13 physically go to, to use their computers?
14 A. When you say "Assistance," assistance in 14 A. l don't remember -- l don't remember the
15 terms of understanding the computer, and how to 15 room number. lt was in the Stratton building.
16 operate it or -- 16 Q. Okay.
17 BY MS. LlGHTFOOT: 17 A. And -- l just don't remember the number.
18 Q. We can start with that question, 18 Q. l-low is it that you knew that you could go
19 A. There was a staff person that was 19 there, to Springfield, to be able to access a
20 present. 20 computer to draw a map?
21 Q. And who was the staff person? 21 A. l believe it was announced that there
22 A. l don't know. l don't know the name. 22 would be that access And there was also announced
23 Q. Was this staff person at UNO? 23 that-- of, hopefully, a similar room here in
24 A. No. 24 Chicago, but we never used the Chicago one.

 

 

 

 

 

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Juan Rangel Oct:oioer 6, 2011
2 5 2 '7
1 Q. Okay. Was there a reason why you 1 female that was there the first time that you can
2 traveled to Springfield as opposed to using a 2 recall.
3 computer here in Chicago? 3 Can you describe what she physically
4 A. l don't know that it was available at the 4 looked iike?
6 time. 5 A. l don't recall.
6 Q. Okay. That would make the trip worth it, 6 Q. Was she, from your perception, White,
7 l guess, then. 7 Black, Latino, Asian?
8 And was there - when you - how many 8 A. Whife.
9 times did you go -- you personally go to Springfield 9 Q. Okay. Can you give me a sense of what
10 to use the ~- what l will call the map-drawing 10 her age WaS?
11 equipment’? 11 A. No. l am really bad with age.
12 A. l don't recall. lt might have been 12 Q. We won't call on you to do a lineup then.
13 twice. 13 Hair color?
14 Q. Okay. 14 A. l believe one of them was blond. l can‘t
15 A. We spent several hours in the room. But 15 recall which one was --
16 l - we were down there several times. But the 16 Q. Fair enough.
17 actual sitting in the room, it might have been two 17 A. l believe One Was biond, and the Other
18 times. But | can‘t recall exactly. 18 one might have been brunette.
19 Q. |n the two times that you remember going 19 Q. Okay. And both Whlfe femaleS; le that
2 0 down to Springfield, sitting in the -- what | will 2 0 COl'reCi?
21 call the map-drawing room, were - was there anyone 21 A. YeS.
22 else present, aside from you and - l am assuming it 22 Q. All right. That's fine.
23 was Mr. Quijano that were there? 23 Take a look at Exhibit 1. if you look at
24 A. One time our attorney was present 24 the second page, for example, you have - and this
2 6 28
1 Q. Okay. Aside from the time that your 1 is a, kind of-- information that's repeated on the
2 attorney was present, was there anybody not directly 2 various maps themselves, except for the one on the
3 afnliated with UNO, i.e., either you, Mr. Quijano, 3 first page, l believe.
4 or your attorney, that was actually present in the 4 There's a legend on the left-hand side.
5 room? 5 Do you see that, sir?
6 A. No, just the staff person. 6 A. Uh-huh.
7 Q. Okay. And was it the same staff person 7 Q. And then there's a heading that says
8 both times that you were there? 8 "Existing." Do you see that, sir?
9 A. No. l think it was just people that were 9 A. Uh-huh.
10 available at the time or that were there stationed 10 Q. Again, you have to answer verbally.
11 And so ~ 11 A. Yes. l'm sorry.
12 Q. All right. Okay. And do you remember 12 Q. Then there's a heading that says
13 the name of any of the staff people who were there 13 "Proposed." Do you see that, sir?
14 when you were there? 14 A. Yes.
15 A. No. 15 Q. And then under both the Proposed and the
16 Q. Can you tell me what -~ can you tell me 16 Existing, there's what l will call demographic
17 whether it was male or female? 17 information. For example, the headings are Total
18 A. Female. 18 Pop, Raw DEV -- and l will ask you what that
19 Q. Fernale? 19 means -- Hispanic Pop, Hispanlc Percentage, Total
20 A. Both times it was female. 20 Voting Age, Hispanic Voting Age, and Hispanic Voting
21 Q. And can you describe what - and was it a 21 Age Percentage.
22 different female or the same female? 22 Do you see that, sir?
23 A. A different fema|e. 23 A. Yes, sir.
24 Q. Okay. Let's call Female One, maybe, the 24 Q. What's the source of the information

 

 

 

  

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Juan Rangel Oci;o]oer 6, 2011
2 9 3 1
1 under the column of Existing on these maps? 1 Votan age Populetlon, Correot?
2 A. lf l reca|l, the way the software -- why 2 A- Correct.
3 we had to go to Springheld, because of specific 3 Q- And then there ere Some - actuallyr one
4 software for mapping purposes And l found it to be 4 more, 7, Whioh are leSS then 50 oeroent l'llSPenlC
5 unique in the sense that you have the existing 5 Votan ege-
6 boundaries ora particular distriot, but it would 6 MR. TR|STAN: objection, vague end foundation.
7 give you the population that exists within that, 7 BY lVlS- LlGHTFOOTf
8 And so those figures would represent that. And as 8 Q. lS that correct, Sir?
9 we would shift the lines, looking to try to capture 9 MR. BRUCEE At this point | am going to make
10 the numberthat is needed, the total numbers would lo another objection with respect to getting into the
11 change over time_ 11 details now of -' you have gone beyond the process,
12 Q_ Okay_ So if l am hearing you 12 and now you are asking about the details of State
13 correctly _- and let‘s stick with page 2, which is 13 Legislative representative districts And l wasn't
14 RD 1. onoe you wouid, kind of, zero in on the 14 eware, but epperently, according to Mr. Rangel's
15 geographic area that you were going to focus on for 15 Counsel, ifl understood what the objection was, he
16 a particular map, the computer program would 16 is going to be deposed on this in the near future -
17 automatically load it up with this -- what l will 17 MR. TR|STAN: Correct.
18 call demographic information under Existing, and 18 MR. BRUCE: - in a different lawsuit And |
19 then under Proposed; is that correct? 19 am not involved in that lawsuit, and -~ but l do
20 A. Correct. 20 object as to the scope and relevancy of this --in
21 Q. Okay. So to the extent that that 21 this case, of asking about now majority, minority,
22 information exists on other maps within Exhibit 1, 22 end Whatever demographic information you are going
23 it was the same kind of process? You would figure 23 to Start asking about With respect to State
24 out what the geographic boundaries were of a 24 Legi$lative districts
3 0 32
1 particular map, and then the computer would 1 And l am -- l am grasping to understand
2 automatically generate it and spit it out to you; is 2 how that could have any relevance to a case
3 that correct? 3 involving a Congressional map. And l think at this
4 A. Correct. 4 point it's becoming abusive and harassing to the
5 Q. Okay. Now, in looking at the maps for 5 witness, because he's going to be deposed on these
6 which there are demographic information -- and l 6 issues -~
7 should back up because l don't know this. 7 MS. LlGHTFOOT: He certainly looks harassed and
8 A number of these maps have the header 8 abused.
9 RD, and then a number that follows What does the 9 MR. BRUCE: l guess that‘s your stab at levity.
10 "RD“ represent? 10 But l do feel strongly that we are
11 A. l am not sure. Maybe it's Representative 11 getting pretty far aheld from the issues that are
12 District. 12 raised in the P|aintiffs' complaint
13 Q. Okay. 13 So maybe, Lori, if you could articulate
14 A. l am not sure. 14 on the record why you think it's relevant in this
15 Q. Okay. That's fine. As l said before, 15 case, and -- you know, because l don't want to be
16 it's note guessing game. | just wanted the record 16 here going through all of this when he‘s going to be
17 to be complete, and | recalled that l hadn't asked 17 deposed in the near future on these matters
18 you about that. 18 MS. LlGHTFOOT: Well, l will, if you - if you
19 There are a number of these districts, 19 are finished with your objection, we will be quickly
20 and l think there are 13 in total. ls that 20 getting to why l think it's relevant in about three
21 consistent with your recollection? 21 questions
22 A. l believe so. 22 MR. TR|STAN: And my objection continues And
23 Q. All right. There are some of these 23 to the extent that we will permit this line of
24 districts that have majority Latino population and 24 questioning at some point, though, we are going to

 

 

 

 

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Juan Rangel October 6, 2011
3 3 3 5
1 have to get back to the issue that we are here. So 1 A- YeS-
2 on that note __ if l can finish __ 2 Q. Also on the Proposed, it has a Hispanlc
3 MS_ LiGHTFOOT; Sure_ Piease_ 3 voting age percentage of 48.17 percent. Do you see
4 MR. TR|STAN: -» we will allow those three 4 that, Sii?
5 questions, and hopefully we will get to, you know -~ 5 A~ COrVeCt-
6 l am not waiving any future objections to any of 6 Q- And it YOU turn te the next PeQe, RD 60.
7 those three questions, but certainly to the extent 7 Urtder Proposed, that has HiSPeniC Voting 399
8 that soon after that we better -- we should arrive 8 perCenteQe et 49'3 PeFCent- DO you See that, Sir?
9 at the reason that we were brought here. 9 A- CO*’FeCt»
10 lvls. LlGHTFOOT: well, if we can dispense with lo Q. And then Similarly. RD 43 has Hispcnic
11 the paragraph-long speaking objections we will 11 Voting age PerCenteQe et 49-05 PerCent» CO"eCt?
12 probably get there relatively quickly. 12 A. Correct-
13 lle. TRlSTAN: ls that one or your questions, 13 Q. And the next one, RD 77, has Hispanic
14 Counse|? 14 age -- sorry, Hispanic voting age percentage of
15 MS. LlGHTFOOT: Sorry, Mr. Tristan'? 15 43-32 PeFCent, CO"'eCt?
16 MR. TR|STAN: ls that one of the three 16 A- Correct-
17 questions? 17 Q. And RD 83, which is the next page, has
13 MS_ LiGHTFQOT; Pardon me? 18 Hispanic voting age percentage of 49.49 percent,
19 MR. TRlSTAN: Continue. 19 COFFeCt?
20 MS. LlGHTFOOT: ls that your attempt at 20 A- COrreCt~
21 Sarca$m, Sir? 21 Q. And then the final page of this exhibit,
22 MR_ TR|STAN; Sorry? 22 Proposed West Chicago District, has a proposed
23 Ms. Liol~lTl=ooT: is that your attempt at 23 Hispanic voting age Porocntago - or has a Hispanlc
24 Sarcasm? 24 voting age percentage of 46.81 percent, correct?
34 3 6
1 MR. TRlSTAN: Perhaps. But you can continue. 1 A. Correct.
2 MS. LlGHTFOOT: Can we go back to the question 2 Q. By the way, just on »- so the record is
3 that was pending before we went off on this little 3 clear, on the last page, this Proposed Chicago
4 frolic and detour? l don't know that l got an 4 District, unlike the other districts that are
5 answer to my question. 5 contained in this exhibit, doesn`t appear to have
6 (WHEREUPON, the record was read by 6 any demographic information on Existing; is that
7 the reporter.) 7 correct?
8 MR. TR|STAN: Objection, foundation. 8 A. Correct.
9 BY MS. LlGHTFOOT: 9 Q. Do you know why that is?
10 Q. Sir, if you take a look at -- and l will 10 A. Because --
11 highlight them for you -- Exhibit 1. Look, for 11 MR. BRUCE: Objection. l’m sorry. Objection,
12 example, page 3, which is RD 2. 12 foundation. Go ahead.
13 Do you see that, sir? 13 BY MS. LlGHTFOOT:
14 A. Uh-huh. Yes. 14 Q. Do you know why that is, sir?
15 Q. And the -- in the column that says 15 A. The district doesn't exist.
16 Proposed -~ do you see that? 16 Q. So this was a brand new district that UNO
17 A. Yes. 17 and the other folks with you were proposing,
18 Q. There's a --the very last column, it 18 correct?
19 says "Hispanic voting age percentage," and it says 19 A. Correct.
20 49.3 percent, correct? 20 Q. Now, are you familiar with the term
21 A. Correct. 2 1 "Cross-over district"?
22 Q. And if you look at the -- let's see. 22 MR. BRUCE: Objection, foundation.
23 |f you look at, several pages in, 23 BY THE WITNESS:
24 RD 40. Do you have that one in front of you, sir? 24 A. Yes.

 

 

 

 

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Juan Rangel OCtober 6, 2011
3 7 39
1 BY MS_ i_iGHTFOQT; 1 looking at areas that are -- maybe influence
2 Q. And, in fact, you testmed about that 2 districts not majority -- vast majority Lafino. in
3 term in your various testimony before the 3 our Case. Wbat We Were looking at~
4 redistricting committees in the hearings this 4 And so it might have meant that looking
5 Spring; is that ooi-reoi? 5 at areas that had more of a - not-- not a super
6 MR. BRUCE: Objection, relevancy, foundation. 6 majority of maiority» but had enough influence
7 BY THE WiTNESS; 7 within -- within the district.
3 A, Thaf'S Correcf_ 8 BY MS. LiGHTFOOTZ
9 BY MS_ i_iGi-iTFOOT; 9 Q. And when you say "Had enough influence
10 Q_ How do you -- When you Woro iosiifying 10 within the district," what do you mean by that, sir?
11 about cross-over districts, can you tell us what you 11 MR- BRUCE? Same objection-
12 meant by "Cross-over districts"? 12 MR- TRlSTANI Same objection
13 MR_ TRiSTAN; objection 13 MR. BRUCE: l'm sorry, l didn't mean to
14 MR_ BRUCE; Foondaiion, roievanoy_ 14 interrupt. lam objecting to the extent that it
15 MR. TR|STAN: And again, Counsel, l think with 15 Calls for a legal oonolusion- l Woulo further
16 respect to cross-over districts, to the extent that 16 object based on foundation oftliis Witness to
17 cross-over districts are relevant in Federai 17 testify to that- And l Woukl obleot on releVanCy
18 |itigation, with Congressional maps my objection 18 Witb resoeot to asking questions about State map ~~
19 Stands_ And i assume that We are going to get Very 19 MS. LlGHTFOOT: l am nOf asking questions about
20 quickly to the reason that we are here for the 20 the State mae l am asking questions about his
21 Congressional litigation 21 understanding of these terms which, as you know,
22 MS_ LiGi-iTFQOT; i think Wo are horo, 22 Mr. Bruce, are applicable in the context of the
23 BY MS_ LiGi-iTi'-'OOT; 23 Congressional redistricting and reapportioning
24 Q. Can you answer my question, sir? And if 24 Cases~
3 8 4 0
1 you don't have it in mind, we can have it read back. 1 MR. BRUCE: if he knows. Go ahead.
2 MR. BRUCE: Same objections 2 BY MS. LiGHTFOOT:
3 (WHEREUPON, the record was read by 3 Q. Let me reask the question.
4 the reporter.) 4 Since you used the term "lnfluence within
5 BY THE WlTNESS: 5 a district," what did you mean by that, sir?
6 A. in what context? What was -- what was 6 MR. BRUCE: Objection, foundation.
7 the question that was asked? 7 BY THE W|TNESS:
8 BY MS. LlGHTFOOT: 8 A. At no time did l use those words in
9 Q. You testified -- you made comments about 9 reference to any Congressional --
10 majority Latino districts; is that correct, sir? 10 BY MS. LlGHTFOOT:
11 A. Probabiy. 11 Q. | am asking you ~-
12 Q. Okay. And you also used the term 12 A. -~ district.
13 "Cross~over districts," correct? 13 Q. -- what -- just so we are clear -- and
14 A. Uh-huh. Probabiy. 14 l'm sorry to interrupt you.
15 Q. When you -- what i am asking is, when you 15 You just used that term about ten seconds
16 used the term "Cross-over district," what did you 16 ago, excising out the objections And what | want
17 mean that-- what did you mean by that? 17 to know is what you mean by that.
18 MR. BRUCE: Objection to the extent it calls 18 A. As it pertains to the State maps.
19 for a legal conclusion, foundation, and relevancy in 19 Q. As it pertains in any concept -- in any
20 this Federal case. 20 context that you would use the term "lnfiuence
21 BY THE WiTNESS: 21 within a district."
22 A. l don't recall having`used the word 22 MR. BRUCE: Objection, foundation, form,
23 "Cross-over." i may have. And what l probably 23 relevancy.
24 meant, ifi used that word --that phrase, is 24 MR. TR|STAN: Objection, vague.

 

 

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Juan Rangel OCtober 6, 2011
4 1 4 3
1 BY THE WlTNESS: 1 for Fair Redistricting support of the map proposed
2 A, Again, as it pertains to a State map -- 2 by the illinois Senate. We stand by our consistent
3 because | assume - l am a little confused as to 3 pOSiiiOn that we need to protect the Latino
4 what we are discussing here. But when we were 4 Communily'$ means over the past two decades, and
5 looking at the State maps -- if that's what we are 5 also expand our representation based upon our
6 talking about now -- looking at areas - l think our 6 population gfoWlh-"
7 position was always not losing the gains that we 7 Do you see that, sir?
8 have made over the last ten years. 8 A~ Uh‘huh- Yes-
9 There is a possibility of adding on 9 Q. You have to answer verbally.
10 influence areas within a district. So some of the lo 30 this Was a statement. this, kind Of,
11 districts that you pointed out that don't have a 11 Opening Slanza, if you Wiil, that you made at a
12 majority Hispanio voting ago, oioariy, there'$ a 12 number of public hearings, both before and after
13 community of interest there; not enough, 13 there were any maps that were introduced; is that
14 necessariiy, to elect a Hispanic, l guess you can 14 CoffeCt?
15 say, but enough to have their interests in some way 15 MR- TRlSTANI Objection, foundation, Vague-
15 looked at_ 16 Piease be specific as to for which maps.
17 BY MS_ LlGHTFOOT: 17 MR. BRUCE: |join in the objection.
18 Q. Okay. You -~ l have read a lot of your 18 BY MS. LlGHTFOOT!
19 testimony from the various hearings, and there's one 19 Q. Did you make this statement more than
20 phrase that you used a iot, and 1 just want to read 20 onoe, Sir, in the context ~ and again, if you want
21 that to you, to help you contextualize it. And this 21 to -- we can spend time going through ali of the
22 is drawn from a May ztst hearing of the senate 22 various parts -- built looks like you had written
23 Redistricting Committee. |t's a public hearing that 23 testimony, end you made this Stafemenf a number of
24 was held here in Chicago. 24 times.
42 44
1 MR. TR|STAN: if you will allow us to also get 1 A. l -
2 to the same page. We have brought those transcripts 2 MR. BRUCE: i don't even know if that's a
3 as well. 3 question, | object to the form.
4 MS. LlGHTFOOT: in fact, we can just mark it. 4 BY MS. LlGHTFOOT:
5 MR. TR|STAN: That might be easier. 5 Q. GO ahead, Sir.
6 MS. LlGHTFOOT: Mark it as 2. 6 A. l don't mean any disrespect to court
7 (WHEREUPON, a certain document was 7 reporters, but l don't think the word "Means" is
a marked Rangel Deposition Exhibit 8 correct. l might have said Latino community's
9 No. 2, for identitication, as of 9 gains --
10 10/6/11.) 10 Q. Okay.
11 BY MS. LlGHTFOOT: 11 A. ~~ over the past two decades.
12 Q. Sir, you now have before you what's been 12 But if this is what it says, l guess this
13 marked as Rangel Exhibit Number 2. As you see from 13 is what l said at the time.
14 the first page, this is a transcript of a public 14 Q. And is it correct, sir, that the Latino
15 hearing that was held before the 2011 illinois State 15 Coaiition for Fair Redistricting that you were a
16 Senate Redistricting Committee on May 21st here in 16 part of had h/vo primary Objectlves in looking at
17 Chicago. 17 redistricting in lliinois, whether it was the State
1a And l am going to direct you to what is 18 map or the Congressional map?
19 numbered page 15. And if you look at the preceding 19 MR. TR|STAN: Objection, Vague.
20 page on page 14, you are introducing yourself as the 20 MS. LlGHTFOOT: Sir, l haven't even asked the
21 CEO of UNO, Latin Coalition for Fair Redistricting. 21 question_
22 l am going to ask you about the next 22 MR. TR|STAN: i am already confused Sorry.
23 page, which is lines 6 through 12. And it reads, 23 MS. LlGHTFOOT: Apparen'tiy. Let me ask the
24 quote, "l am here to express the Latino Coaiition 24 question, Then you Can interpose your Objection,

 

 

 

 

 

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Juan Rangel 0ctober 6, 2011
45 47
1 MR. TR|STAN: Please start the question over. 1 Q. And my question, sir, was, with respect
2 BY MS. LlGHTFOOT: 2 to -- let's talk about the Congressional map
3 Q. Sir, was it the case that the Latino 3 specifically With respect to the Congressional
4 Coalition for Fair Redistricting had two primary 4 map ~- well. let me back up.
5 objectives with respect to the redistricting process 5 With respect to the State map, you have
6 in lllinois, whether it was the State map or the 6 Said -- and the EXhibif 2 that We have in front Of
7 Congressional map? One was to protect the Latino 7 you ~ was that there were three objectives now.
8 community's gains over the past two decades? Was 8 And let me make sure that l have got them right.
9 that one of the objectives, sir? 9 One was to protect the Latino community's gains over
10 MR. TR|STAN: Objection. 10 the past two decades Was that one of the
11 MR. BRUCE: Objection to the form_ it's 11 objectives with respect to the State map?
12 compound. You are now asking about both the 12 A- Correct.
13 Congressional and State. You are muddling the 13 Q~ The other Was to expand the Latino
14 issues, He never testified to that, You haven't 14 community's representation based upon the population
15 asked him what his involvement in the Congressional 15 growth that occurred over the bast decade here in
16 maps was at all. And so l object. That 16 lllirtois; is that COrreCt?
17 mischaracterizes his testimony. lobject to the 17 A. Correct.
18 foundation and relevancy. 18 Q. And Sounds like there Was a third
19 MR. TRlSTAN: same objection as to compound i 19 objectivex which was to make sure that the rights
20 lost track after the third question, So if you Can 20 and objectives of other minority groups in the state
21 just narrow it down to one per question, 21 were also respected; is that correct?
22 MS. LlGHTFOOT: Re-read my question back, 22 A. Correct.
23 please_ l want an answer to that, 23 Q. With -- keeping those three objectives in
24 24 mind, sir, were those objectives the same or
4 6 4 8
1 (WHEREUPON, the record was read by 1 different with respect to the Congressional
2 the reporter.) 2 redistricting process that ensued here in lllinois?
3 BY THE WlTNESS: 3 A. Well, it's apples and oranges. And l
4 A. Again, l think we took a very -- very 4 think those are two different processes --
5 specific position on the State map. And what you 5 Q. Okay.
6 have in front of me here is my testimony for State 6 A. -~ in terms of what we are trying to --
7 Senate Redistricting Committee public hearing. And 7 in terms of the objectives And the three that you
8 there were -- there were, actually, several other 8 just mentioned, the three objectives, were very
9 points. lt was also ensuring that the civil rights 9 specihc to our State remap position.
10 of other minority groups were respected 10 Q. Did you have any specific objectives with
11 BY MS. LlGHTFOOT: 11 respect to the Congressional redistricting process,
12 Q. Okay. 12 sir?
13 A. l think those were the three points that 13 A. We never undertook a process with the
14 we would always make as it pertains to the State 14 Congressional maps as we did with the State.
15 maps, 15 Q. Okay.
16 Q. Well, UNO has taken a position with 16 A. We did take a position, but it wasn't
17 respect to the Congressional map; isn't that 17 through a process like we had done with the State
18 correct, sir? 18 maps, of drawing maps, or anything like that.
19 A. Yes. 19 Q. So let me explore that a little bit more.
20 Q. And your position was that, in effect, 20 When you say that "We never undertook a
21 you were satisfied with only having one majority 21 process,“ with respect to the Congressional map,
22 Latino district as proposed by the Springheld 22 what specifically are you referring to, sir?
23 Democrats, correct? 23 A. Drawing maps and -- like we did very
24 A. Correct. 24 specific work that was done with the State maps.

 

 

 

 

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Juan Rangel Oct;ober 6, 2011
4 9 5 1
1 Q. Okay. Let's explore that a little bit. 1 See that, Sir?
2 So, for example, sir -- and this is -» l 2 A- YeS~
3 am going to try to do a compare and contrast; what 3 Q- Oh the ~ and ihere'S certain demographic
4 you did with the State map versus what you did or 4 ihforrhafioh; Total Pop, HiSoariic Pop, Voting AQe.
5 didn't do with respect to the Congressional map. 5 and So fodh- Do YoU See ihai» Sir?
6 Obviously, as we put in front of you with 6 A- Correct-
7 Exhibit 1, you undertook the process of going down 7 o. Aside from having this information
8 to Springfield, drawing some particular districts, a reiiec'fed oh the maps that Were drawn “ and ii
9 and then proposing those districts as part of the 9 sounds like it was automatically generated by the
10 public hearing prooess, oorreot? 10 computer once you printed the map; is that correct?
11 A. Correct. 11 A. Correct.
12 MR. BRUCE: Objection to form. 12 Q. Aside from seeing this information that
13 BY MS_ LlGHTFOOT; 13 was automatically generated by the software program
14 Q, Did you engage in any simiiar exercise of 14 that was used to draw these particular maps, did you
15 drawing any draft Congressional districts as part of 15 otherwise review any other demographic information
16 the redistricting process for the Congressional 16 as part of your State map-making oxeroise?
17 maps? 17 MR. TR|STAN: Objection as to relevance with
18 MR. BRUCE: l'm sorry, Same objection, 18 respect to the processes that were used for the
19 BY THE WlTNESS: 19 drawing of the State map,
20 A. No. 20 MR. BRUCE: Same objection.
21 BY MS. LlGHTFOOT: 21 BY THE WlTNESS:
22 Q. Okay. Did you, sir -- and again, looking 22 A. For the purpose of the - drawing the
23 at the demographic information that is on the 23 State maps "
24 Exhibit 1 that we put in front of you. 24 BY MS. LlGHTFOOT:
5 0 5 2
1 l take it that you - l will ask you. 1 Q. Correct?
2 Did you, for purposes of the 13 districts that you 2 A. -- as we found it? Not specifical|y, no.
3 drew which are embodied in Exhibit 1, did you review 3 Q. Okay. So then let's shirt gears and talk
4 any specific demographic informationl other than 4 about the Congressional.
5 what was, kind of, automatically put in on the 5 l take it then, sir -- but you will tell
6 maps - let me ask a better question, 6 me -- did you look at any specihc demographic
7 Aside from the demographic information 7 information as -- on -- related to any Congressional
8 that is reflected on the maps that are embodied in 8 maps leading up to UNO taking a position vis-a-vis
9 Exhibit 1, did you - and l mean you, Mr. Rangel -- 9 the Congressional map?
10 and l will ask you another question -- but did you 10 MR. BRUCE: Objection to the form. Go ahead.
11 review any other demographic information about the 11 BY THE WlTNESS:
12 State of illinois State districts? 12 A. To the degree that we did for the State
13 MR. BRUCE: Objection, form, foundation, and 13 maps, no.
14 relevancy, 14 BY MS. LlGHTFOOT:
15 BY THE WlTNESS: 15 Q. To any degree?
16 A. You lost me there. 16 A. Just general population numbers that we
17 BY MS. LlGHTFOOT: 17 know, but not-- not in terms of engaging in a
18 Q. Okay. Take a look at Exhibit 1. 18 Congressional district map process.
19 A. Uh-huh. 19 Q. Okay. And -»
20 Q. And look at the second page. Do you have 20 MR. BRUCE: Lori, if you can wait until the
21 that, sir? 21 witness finishes his answer before you begin the
22 A. Yes. 22 next one, l think that‘s appropriate.
23 Q. All right. As we established earlier, 23 MS. LlGHTFOOT: l didn't know that l was
24 there's two columns; Existing and Proposed. Do you 24 interrupting the witness, sir.

 

 

 

 

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Juan Rangel Oci;ober 6, 2011
53 5 5
1 BY MS. LlGHTFOOT: 1 | think it's, again, just those words put together
2 Q. When you say general population numbers, 2 means something. l don't know that l can say i
3 what are you referring to, sir? 3 learned it here or there.
4 A. Well, l think that's common knowledge 4 l assume it means that there’S votes '
5 that there's been a population growth within the 5 based on a certain race that vote in a certain way,
6 Latino community in the state of |ilinois. 6 BY MS. LlGHTFOOT:
7 Q. So you are talking about, kind of, 7 Q. Okay. l won't confirm that that's
a general census information about the growth in the 8 accurate or not, But let me ask this question then:
9 Latino population here in lllinois; is that correct? 9 Did you -- and l am talkan about you personally -
10 A. Correct. 10 engage in any racial block voting analysis with
11 Q. All right. Aside from that kind of 11 respect to anything related to Congressional
12 general census information about the growth in 12 redistricting in 2010 or 2011?
13 Latino population in iilinois, did you look at any 13 MR. TRlSTAN: Objection, foundation.
14 other demographic information related to any 14 BY THE WlTNESS:
15 population changes in illinois relative to the 15 A. No.
16 Congressional redistricting process? 16 MR. BRUCE: Same objection.
17 A. No. 17 BY MS. LlGHTFOOT:
18 MR. TR|STAN: Objection. 18 Q. Okay. Did anyone acting - did UNO
19 BY MS. LiGi-iTFOoT; 19 itself or did it cause any racial block voting
20 Q, And let me broaden the question just -- 20 analysis to be conducted related to the
21 and i think l know what the answer is, but let me 21 Congressional redistricting process in either 2010
22 just make sure. 22 or - hold on, sir -- let me just finish asking the
23 Aside from what you personally may have 23 question -~ in either 2010 or 2011?
24 done, are you aware of anybody acting on behalf of 24 MR. BRUCE: Objection, form.
54 5 6
1 UNO who reviewed any demographic information related 1 MR. TRlSTAN: Objection as to the form.
2 to population in illinois in connection with a 2 Objection as to asked and answered in that the
3 Congressional as opposed to a State redistricting 3 Witness has stated that he Was not involved in the
4 process? 4 process.
5 A. NO- 5 MS. LlGHTFOOT: i asked him about him
6 Q- Okay» 6 personal|y, and now l asked about the organization
7 (WHEREUPON, discussion was had off 7 or anybody acting on the organization's behaif.
8 the record-) 8 BY MS. LlGHTFOOT:
9 BY MS. LlGHTFOOT: 9 Q. Do you have that question in mind or
10 Q. Let me shift gears and ask you some other 10 should l restate?
11 questions, sir. 11 A. Restate it.
12 Are you familiar with the term "Raciai 12 Q. Just so you are clear, the way l am going
13 block voting"? 13 to ask these questions is what you personally did --
14 MR. BRUCE: Objection, foundation. 14 A. Sure.
15 BY THE WlTNESS: 15 Q. -- and then | am going to ask what UNO
16 A. Yes, l guess. it's almost 16 did or anybody acting on UNO's behaif. So that's
17 self-explanatory 17 the dichotomy. So the topic -~ each topic that | go
18 Bv MS. LlGHTFOOT: 18 into will have two parts to it.
19 Q. Well, okay. 19 A, Sure_
20 How is it that you are familiar with the 20 Q. What you know -- What you may have done
21 term "Raciai block voting"? 21 personaiiy, and what UNO did. You understand that
22 MR. BRUCE: Same objection, 22 distinction?
23 BY THE WlTNESS: 23 A_ Yeg_
24 A. | don't know that i am familiar with it. 24 Q, Let me go back_

 

 

 

 

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Juan Rangel October 6, 2011
5 7 5 9
1 l previously asked you about what you did l an earmuff?
2 or didn't do regarding racial block voting analysis. 2 A- COFF€CL
3 My question then, Sir, js, are you aware 3 Q. Okay. SO l am going tO US€ that tel'iTi. l
4 of whether or not either UNO or anyone or entity 4 just want to make sure that you understood it.
5 acting on behalf of UNO conducted any racial block 5 With respect to the earmul“l, did yOU
6 voting analysis related to the Congressional 6 conduct any analysis to determine whether or not the
7 redistricting process in either 2010 or 2011? 7 two Latino enclaves that are connected by the
3 A_ No_ 8 connector could be uncoupled to have viable Latino
9 Q. Okay. Same, kind of, two»part question. 9 districts?
10 And the topic is the effectiveness of any Latino 10 MR. TR|STAN: Objection, asked and answered
11 disfrict_ So that‘s the topic_ ll MR. BRUCEZ ObjeCthi'I to the fOl’lTl and
12 The question is whether or not you 12 foundation. GO ahead, sir.
13 personally conducted any kind of analysis which 13 BY THE WlTNESS:
14 attempted to determine the effectiveness of any 14 A. COUld you repeat the first part of the
15 Latino majority district related to Congressional 15 QUeSinn?
16 redistricting. 16 BY MS. LlGHTFOOT:
17 A. No. 17 Q. Sure. Let me lay a little more
18 Q. All right. Same topic. The question is, 18 foundation so the question is a little more
19 did UNO or anyone acting on behalf of UNO conduct 19 Comprehen$ible.
20 any kind of analysis regarding the effectiveness of 20 YOU are familiar With the eafmuff.
21 any Latino majority district related to 21 CorreCt'?
22 Congressional redistricting. 22 A. Uh-huh. Yes.
23 A. No. 23 Q. And you are aware, sir, are you not, that
24 Q, Siightiy different topic, but gimiiar to 24 the earmuff, the connector piece, essentially
58 6 0
1 the last one. 1 connects a Hispanlc enclave -- Latino enclave
2 Did you conduct any analysis to determine 2 district on the North side of Chicago with a Latino
3 whether or not. with respect to the Congressional 3 enclave district on the South side of Chicago,
4 redistricting, there could be drawn two Latino 4 correct?
5 majority districts? 5 A. Correct.
6 A. No. 6 Q. And you are familiar with the fact that
7 Q. Did UNO, or anyone acting on behalf of 7 Congressman Davis' district kind of goes through the
8 UNO, undertake any analysis to determine whether or 8 middle of those two enclaves, like a cigar, so to
9 not there could be drawn two Latino majority 9 speak, correct?
10 districts in the Congressional context? 10 A. Correct.
11 A. No. 11 Q. Okay. What -- my question is whether or
12 Q. All right. Did you conduct any analysis 12 not you conducted any analysis to determine whether
13 to determine -- well, let me back up and set the 13 or not those two enclaves could be uncoupled, and
14 foundation. 14 function as viable Latino districts.
15 You are familiar with Congressional 15 A. No.
16 District 4, correct? 16 Q. My second part of that question: Did UNO
17 A. Uh-huh. Yes. 17 or anyone acting on behalf of UNO conduct any
18 Q. And you understand Congressional District 18 analysis to determine whether or not those two
19 4 to be a Congressional district that, for the last 19 Latino enclaves could be uncoupled to create Latino
20 20 years, has been represented by Congressman 20 districts?
21 Gutierrez, correct? 21 A. No.
22 A. Correct. 22 Q. Aii right. Now, you have told me, in
23 Ci. Are you aware that-- that the 23 effect, that neither you personally nor UNO did any
24 Congressional District 4 is sometimes referred to as 24 of the kind of extensive analysis on the

 

 

 

 
 

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Juan Rangel Oct:ober 6, 2011
61 63
1 Congressional districts that was performed by UNO l A. Again, it'S - l don't know that we took
2 and yourself vis-a-vis the State Legislative 2 a position specifically to the map that was
3 districts; is that correct? 3 approved. l think our position was the concept of
4 A. Correct. 4 one Congressional district,
5 Q. Let's say prior to -- prior to the end of 5 Q. Are you finished?
6 June of this year, okay, were you aware of whether 6 Okay. l don't want to be accused of
7 or not any elected oficials from Springneid 7 interrupting you.
8 conducted any kind of racial block voting analysis 8 All right. So let me ask it a different
9 related to the Congressional redistricting process? 9 way then, and make sure we are both on the same
10 A. Not specifically, no. 10 page.
11 Q. Because you qualified it, l will have to 11 What you are saying is that UNO came out
12 follow up. 12 in support of the concept of having one majority
13 What do you mean by "Not specificaiiy," 13 Latino district; is that Correct?
14 sir? 14 A. Correct.
15 A. Well, you said if l was aware. 15 Q. But UNO has not taken a position with
16 Q. Yes. 16 respect to the specific iteration of CD 4 that is in
17 A. l wasn't aware. l assumed that there's 17 the ~- in the map that was passed by the General
18 analysis that's being done as the State is 18 Assembiy and signed into law by the Governor; is
19 conducting its business of drawing remaps, but l 19 that the distinction you are drawing?
20 don't have any specific knowledge to it. 20 A. Yes, although, l think that we are
21 Q. Okay. All right. And let me make sure 21 satisfied with the map that was produced by the
22 that l am ciear. 22 State because it followed the concept of one
23 So what you are, in essence, saying is 23 Congressional district
24 you made an assumption that somebody was probably 24 Q. 0kay.
62 64
1 doing it, but you don't have any particular 1 A. And ali l am saying is iri terms of the
2 knowledge one way or the other; is that correct? 2 lines, where the lines are drawn, what streets and
3 A. Correct. 3 all that, it's -~ we were happy that the State
4 Q. All right. UNO came out and supported 4 followed what we believe is the best -- in the best
5 the Congressional map that was passed by the General 5 interest of our community at that time.
6 Assembiy and signed into law by the Governor; is 6 Q. i‘m sorry, go ahead.
7 that correct? 7 A. That's it.
8 A. i don't know that it was --the 8 Q. And that is one majority Latino -
9 Congressional map ~- 9 A. Congressional district, yes.
10 Q. That's what l am talking about. 10 Q. Okay. in other words, you are not -~
11 A. -- specificaiiy? 11 neither you nor UNO are specifically endorsing the
12 l think our position was in support of 12 various line drawing that constitutes CD 4; is that
13 one Congressional district, 13 correct?
14 Q. Okay. 14 A. i don't want to come across like we are
15 A. l am not sure about the specific map as 15 opposing it either.
16 it's delineated throughout Butthe concept of‘one 16 Q. No, l understand You quaiihed it, sol
17 Congressional district is what we stood behind. 17 just want to understand what the quaiihcation
18 Q. And in fair point, l didn't mean to 18 means.
19 overstate what your endorsement was. 19 A. l think our position was that this is our
20 So in other words, UNO has taken a 20 preference of having one Congressional district,
21 position that it supports the CD 4 as it is 21 along with a coalition of organizations that came
22 reflected in the map that was passed by the Generai 22 together. Whether it was a specific endorsement of
23 Assembiy and signed into law by the Governor, 23 that map, i am not sure it was that either. But it
24 correct? 24 wasn't like we were opposed to the map so --

 

 

 

 

 

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Juan Rangel Oc’cober 6, 2011
6 5 6 7
1 Q. l am just trying to get at _- let me just 1 it would be great to see two, three, four or more,
2 ask it directiy, since we are on the topic, 2 we settled on, kind of, the reality of voting
3 Has UNO taken any specific position 3 patterns within our community, and feeling that--
4 regarding the particular way in which CD 4, as 4 unfortunately, that if we followed those trends, we
5 reflected in the map that was passed and signed into 5 may lose the gains that We have made With having at
6 law, have you taken any specinc position as to that 6 least one Congressional representative
7 particular district, beyond the concept of, We 7 And So We Came to the ConCluSiOn that
8 support one majority Latino district? 8 what was best at this time is to enhance that one
9 A. l think our position was that we support 9 Congressional district to ensure that we don't lose
10 the map that was passed by the State because it 10 that. SO that was the basis Of Our position.
11 followed the concept. So it's kind of like - l 11 Q. So you said a couple things there that l
12 don't mean to be obtuse about it. it's just that 12 want to just follow up With you on.
13 the State passed a map, and even though we weren't 13 YOu Said SOm€thihQ abouti The reality Of
14 looking at the specific lines, it followed the 14 voting patterns within our community. What did you
15 concept of one Congressional district, and we were 15 mean by that, sir?
16 satished with that, 16 A. Unfortunately, Latinos vote in very small
17 So l guess in some way we were endorsing 17 numbers, and for different reasons. You have --
18 the map, without saying, This is the map that we 18 could have a very large Latino population, but it
19 want. it's the concept of one Congressional 19 may not be a voting population lt may not be
20 district 2 0 eligible to vote.
21 Q. So in other words, in endorsing the 21 And then you do have those that are
2 2 concept -- let's stick with that __ of one 22 eligible to vote that may not vote themselves And,
23 Congressional district, it sounds like, based on the 23 to me, that'S kind of -- that's the Certain reality
24 comments that you just made and our previous 24 that we need to Contend with. And in Oui' ambitlon
66 68
1 discussion about what analysis was done - that UNO 1 to try to get more districts, are we actually
2 or anybody acting on behalf of UNO hadn't sat down 2 diluting our strength that we have? So that was the
3 and, you know, crunched the numbers, soto speak, of 3 logic that we used.
4 what the specific demographic information was, 4 Q. Let me ask you this then: With respect
5 political data, or where particular lines may have 5 to that concern about Latinos voting in small
6 been drawn; is that correct? 6 numbers, and the potential to lose gains that had
7 A. Correct. 7 come -~ l am talking specifically about the
8 Q. All right. Okay. l now understand what 8 Congressional process -- are you aware of whether or
9 you were saying. 9 not any of the various groups that you were talking
10 Tell me, sir, then why -- what was the 10 about in arriving at this discussion, are you aware
11 basis for UNO's endorsement of the concept of one 11 that any of them had conducted any kind of specific
12 majority Latino Congressional district. 12 voting analysis of how Latinos vote anywhere in
13 A. Sure. l think initially, just given the 13 Northern illinois over any period of time?
14 census figures in the state of illinois, it's 14 A. l am not aware of a specihc but, again,
15 obvious the Latino community has grown. 15 l am going to assume that some of them had.
16 Q. Sure. 16 Q. So beyond your assumption, in any of
17 A. And l think there's always been a desire 17 these conversations that you were having that led to
18 to see more representation on the Congressional 18 the conclusion that you could endorse the concept of
19 side. 19 one Latino majority Congressional district, are you
20 But after having conversations with other 20 aware for a fact as to whether or not any of the
21 organizations in terms of what the position ought to 21 various constituency groups that you were talking
22 be, and try to present a united front on this topic, 22 with had actually done any kind of analysis of
23 kind of, was a give~and-take, in trying to hgure 23 Latino voting patterns in Northern illinois -- and
24 out what was best for our community. And as much as 24 by that l mean city of Chicago, Cook, suburban Cook,

 

 

 

 

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Juan Rangel October 6, 2011
6 9 7 1
1 at -- for any time period? 1 do,
2 MR. BRUCE: Objection, foundation. 2 BY MS. LlGHTFOOT:
3 BY THE WlTNESS: 3 Q. Again, this is just what you know, not
4 A. There's groups that do this. There has 4 What may have happened outside of your knowledge
5 been analysis that has been done. Was it done 5 A couple more topics, sir.
6 specifically torthis discussion? That l am not 6 Are you - did you, you, Juan Rangel ~
7 aware of. 7 this is actually going to be a three-part -- same
8 BY MS. LlGHTFOOT: 8 topic, but three parts.
9 Q. Okay. And that was my question, whether 9 Did you, Juan Rangei, conduct any kind of
10 or not somebody came and said, Hey, we have done 10 analysis to determine what the percentage of voting
11 this --in other words -~ l am, obviously, making it 11 age population would be needed to have an effective
12 up, because l wasn't part of the discussion ~- We 12 district for Latinos, and, again, in the context of
13 have done this analysis of how Latinos vote in city, 13 Congressional redistricting'?
14 county, suburban Cook, DuPage County, anywhere else 14 A. NO.
15 in Northern lllinois, and here is what the results 15 Q. Did any - did UNO or anyone on behalfo
16 were? Anything along that line that were part of 16 UNO conduct such an analysis to determine,
17 the discussions that you were in'? 17 essentially, what's the threshold level that we
18 A. Not specific to the Congressional -- no 18 could be at, under 50 percent, to have a Latino
19 analysis -- l guess l should say l don't know that 19 district that would be etfective?
20 there were analyses that were done forthe purpose 20 MR. BRUCE: Objection,
2 1 of that discussion But some of these organizations 21 MR. TRlSTAN: Objection, compound and vague.
22 have histories of doing analyses and have expertise 22 MR. BRUCE: l'm sorry, Objection, foundation,
23 that we were relying on as well, and our own 23 form. And | think it's seeking a legal conclusion
24 experiences within our communities 24 But go ahead, if you know the answer -
70 72
1 Q. Okay. But nothing that was specifically 1 if you can answer.
2 done, that you are aware of, of analysis of Latino 2 BY THE WlTNESS:
3 voting patterns in Northern illinois and the 3 A. l am a little confused on the question
4 boundaries that l have detined? 4 BY MS. LlGHTFOOT:
5 A. Not in attempting to shape a 5 Q. Fair enough. Let me restate it.
6 Congressional district, 6 We talked at the very beginning of our
7 Q. Okay. All right. 7 discussion here this morning -- you used the term
8 Okay. Are you aware, sir, of whether or 8 "lnfiuence within a district." Do you remember
9 not either any of the - and l am calling them 9 that, sir?
10 constituency groups -~ any of the groups that you 10 A. Uh-huh.
11 were in discussion with regarding the Congressional 11 Q. Okay.
12 redistricting process, did any kind of racial block 12 A. Yes.
13 voting analysis? 13 Q. What l am asking you is whether or not
14 We have talked about you, We have talked 14 UNO or anyone on behalf of UNO conducted any kind of
15 about UNO. But l want to expand it now to any of 15 analysis to determine what the Latino voting age
16 the groups that you were talking about in either -- 16 population percentage could beto have influence
17 talking with in either 2010 or 2011, did any kind of 17 within any particular Congressional district,
18 racial block voting analysis in the context of 18 A. No.
19 thinking about Congressional redistricting 19 Q. All right. Same question, but l am going
20 MR. BRUCE: Objection, asked and answered, and 20 to expand it out to the universe of folks that you
21 foundation. Go ahead. 21 were talking with throughout this process
22 BY THE WlTNESS: 22 ln your discussions with these various
23 A. l am not aware of it. lt's possible that 23 constituency groups about the Congressional
24 they had in some of these groups. That's what they 24 redistricting process, are you aware of whether or

 

 

 

 

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Juan Rangel October 6, 2011
73 75
1 not there was anyone who had conducted an analysis l of Whether Of not anyone has done any analysis of
2 to determine what the percentage of Latino voting 2 the Congressionai map, aside from, obViOUsiy. the
3 age population could be in order for Latinos to have 3 parties to this iiiiQaiion. but aside from that, are
4 influence within a particular Congressional 4 you -- do you have any personal knowledge of whether
5 disirict? 5 or not anyone else has done any analysis of any kind
5 A_ Same as before, l am not aware of 6 related to the Congressional map since it was passed
7 specifically but, again, l am assuming that because 7 and Signed into law in June Of this year?
8 of the work that these -~ some of these other 8 A. No.
9 organizations do, that they had done so; not 9 Q. All right. Aside from the various
10 necessarily for -- not necessarily for the 10 constituency groups that you have talked about that
11 Congressional map, perhaps, but l am not sure. But ll you Were in Conver$afion With -- and l mean the
12 analysis has been done by some of these groups in 12 broader you ~~ UNO and YoU Psfsonaiiy Were in
13 the past. 13 conversation with -- leading up to the position that
14 Q, But as you sit here today, you are not 14 UNO ended up taking vis-a~vis the Congressional map,
15 aware of any specific analysis that was done along 15 were you in consultation with any elected ofticials
16 these lines, i.e., what's the threshold number that 16 before UNO announced its Support Of the COnCept of
17 we can - that we should have ideally for Latino 17 One LaiinO majority COngreSSiOnal district?
18 voting age population, for Latinos to have influence 18 A. The Only person that we spoke -- elected
19 within a particular Congressional district? 19 ochial that we spoke to regarding the
20 A. No. 20 Congressional district was Congressman Gutierrez.
21 Q. Okay. 21 Q. Okay. Aside from Congressman Gutierrez,
22 MS. LlGHTFOOT: Why don't we take a quick break 22 fOr example, did you ~- were you in consultation
23 so the videographer can change the tape. 23 with any elected official -- any State-elected
24 THE VlDEOGRAPHER: This is the end of Tape 24 official - by that l mean either a member of the
74 76
1 Number 1. We are going off the record at 11:26. 1 illinois House of Representatives or the illinois
2 (WHEREUPON, a recess was had,) 2 Senate ~ regarding UNO's position about the one
3 THE VlDEOGRAPHER: This is the beginning of 3 majority Latino district?
4 Tape Number 2. We are back on the record at 11:31. 4 A. No.
5 BY MS. LlGHTFOOT: 5 Q. Okay. Were you in contact with any staff
6 Q. Mr. Rangel, l asked you a series of 6 person for any State-elected officia|?
7 questions about what, if any, analysis was done 7 Again, l am defining that as a member of
8 vis-a~vis any congressional districts by either you, 8 the General Assembly. Were you in contact with any
9 UNO, and then l came back and asked you questions 9 staff person of a General Assemny member about
10 about the various constituency groups that you were 10 UNO's position regarding the one majority Latino
11 talking with about the congressional process. 11 district?
12 Just so l have tied up that topic area, 12 A. No.
13 since the map was - the congressional map was 13 Q. Okay. Aside from your Counsel, did you
14 signed into law in or about June of this year, 14 talk to anybody else about the fact that you were
15 have -- are you aware of -_ have you conducted any 15 going to be called for a deposition in this case?
16 kind of analysis related to the Congressional map at 16 A. Aside from Counsel?
17 all? 17 Q. Yes.
18 A. No. 18 A. Like -- like --
19 Q. Okay. Has UNO or anyone acting on UNO's 19 Q. Anyone.
20 behalf conducted any analysis of the Congressional 20 A. Just letting staff know that | am not
21 map since it was signed into law by the Govemor in 21 going to be in today.
22 June of this year? 22 Q. Okay. l take it Pat is probably your
23 A. No. 23 assistant is that correct?
24 Q. All right. And similarly, are you aware 24 A. Pardon me?

 

 

 

 
 

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Juan Rangel Oct:oloer 6, 2011
77 79

1 Q. ls Pat your assistanth -- 1 yesterday?

2 A. No. 2 A. Repeat the question again.

3 Ct. Okay. Did you say - 3 Q. We have talked a lot today about the --

4 A_ Other than the staff, 4 your knowledge or -- and maybe lack thereof, about

5 Q, l'm sorry, staff_ | misheard you, 5 the Congressional redistricting process, correct?

6 Okay. Other than staff, other than your 6 A. Correct. Uh-huh.

7 Counsel, did you talk to anybody else about the fact 7 Q- Did you talk With Mr. Bruoo When you met

8 that you were going to be deposed here today? 8 with him yesterday about anything related to the

9 A. No. l don't recall. 9 Congressional redistricting process?

10 Q. So, for example, did you meet with 10 A. We talked about the deposition. So the
11 Mr. Bruce in advance of your deposition here today? 11 deposition is about the Congressional district So
12 A. Oh, yes. 12 yes, l guess.
13 Q, When did you meet with Mr_ Bruce? 13 Q. And what specincal|y did you talk about,
14 A. Yesterday. 14 sir?
15 Q, And was that face to face or over the 15 A. Just kind of what to expect in terms of
16 phone? 16 this process, and always told me to be truthfu|.
17 A. Face to face. 17 Q. Did you talk about any of the questions
18 Q. And where did that meeting take place, 13 that W€ iaii<€d about hare today?
19 sir? 19 A. We talked about possibie questions that
20 A. |n his office. 20 would be asked.
21 Q. Okay. Was that at your initiation or at 21 Q. Like What?
22 Mr. Bruce's initiation, if you know? 22 A. Some of the questions that you asked
23 A. That was -- l don't know -- l don't 23 today-
24 recall if it was our attorneys that worked on ~- are 24 Q. For example?

78 8 0

1 working on this. 1 A. Did we play any role in the Congressional

2 Q. And what did Mr. Bruce ask you about? 2 district remap.

3 A. Asked -- it was more of-- kind of what 3 Q. Did you tell him anything different than

4 this process is, what -- the deposition and what to 4 you told me here today?

5 expect, kind of thing. 5 A. Pardon me?

6 Q. Okay. And did you talk about anything 6 Q. Did you tell him anything different than

7 else with Mr. Bruce? 7 what you told me here today?

8 A. Other than -- l am not sure what your 8 A. No.

9 question is. 9 Q. How long did you meet with Mr. Bruce?
10 Q. Well, you just said that one of the 10 A. Not very long. Twenty minutes, maybe.
11 things that you talked about with Mr. Bruce was what 11 Ct. Okay. Aside from telling staff and
12 the deposition process was going to be like. 12 talking to your attorneys, and meeting with the
13 Did you talk about anything else with 13 lawyer for the State, did you talk about your
14 Mr. Bruce? 14 deposition with anybody else?

15 A. Outside of the deposition itself, no. 15 A. l don't believe so.

16 Q. Well, outside of that topic of what -- l 16 Q. Okay.

17 take it what you are saying is that one of the 17 MS. LlGHTFGOT: GKay. l think that's all the

18 things you talked about with Mr. Bruce was what it 18 questions l have for you.

19 was going to be like to be deposed. ls that 19 THE WlTNESS: Thank you.

20 correct? 2 0 EXAM|NATlON

21 A. Correct. 21 BY MR. BRUCE:

22 Q. All right. Did you talk about anything 22 Q. Mr. Rangel, you have no knowledge or

23 related to the Congressional redistricting process 23 information that any Congressional district map was
24 itself with Mr. Bruce when you met with him 24 drawn to discriminate against Latinos; is that true?

 

 

 

 

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Juan Rangel Octoloer 6, 2011
81 83
1 A_ That's Correct. 1 lN WiTNESS WHEREOF, l do hereunto set my
2 Q_ And as l understood your testimony here 2 hand af Chicago, lllil"iOiS, thiS 17th day Of OCfObei',
3 today, you would, in fact, disagree with that? You 3 2011.
4 don't think it was drawn, based upon what you know, 4 '
5 to discriminate against Latinos; is that correct? 5
6 A. Correct. 6
7 MS. LlGHTFOOT: Objection, foundation and 7 C`S\R- Cei'iiiiCaio NO- 34'3822-
8 mischaracterizes his testimony. 8
9 BY THE WlTNESS: 9
10 A. Correct. 10
11 BY MR. BRUCE: ll
12 Q. l don't think l am mischaracterizing your 12
13 testimony Do you think the Latinos were 13
14 discriminated against in the way the map was drawn? 14
15 A. No, we support the concept of one 15
16 Congressional district, as was passed by the General 16
17 Assembiy and signed into law. 17
18 MR. BRUCE: That's all the questions l have. 18
19 Thank you for your time here today. 19
20 MR. TR|STAN: l have no questions. 20
21 THE VlDEOGRAPHER: This concludes the 21
22 deposition and ends Tape Number 2. We are going off 22
23 the record at 11:40 a.m. 23
24 FURTHER DEPONENT SA|TH NOT. 24
82 84
1 CERT|F|CATE OF OFFlCER 1 l N D E X
2 2 WlTNESS EXAMINATION
3 3 JUAN RANGEL
4 l, LlSA O'BRlEN, a Certitied Shorthand 4 By Ms_ nghtfoot 5
5 Reporter of the state of lllinois, do hereby 5 By Mr_ Bruce 80
6 certify: 6
7 That previous to the commencement of the E X H i B | T S
8 examination of the witness, the witness was duly 8 NUMBER PAGE
9 sworn to testify the whole truth concerning the 9 Rangel Depo$jtion Exhibits
10 matters herein; 10 Deposition Exhibit No. Group 1 17
11 That the foregoing deposition transcript 11 Deposjtion Exhibit No_ 2 42
12 was reported stenographically by me, was thereafter 12
13 reduced to typewriting under my personal direction 13
14 and constitutes a true record of the testimony given 14
15 and the proceedings had; 15
16 That the said deposition was taken before 16
17 me at the time and place specified; 17
18 That | am not a relative or employee or 18
19 attorney or counsel, nor a relative or employee of 19
2 0 such attorney or counsel for any of the parties 2 0
21 hereto, nor interested directly or indirectly in the 21
22 outcome of this action. 22
23 23
24 24

 

 

 

 

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Juan Rangel October 6, 2011
85 87
1 DEPOSiTlON ERRATA SHEET 1 DEPOSiTlON ERRATA SHEET
2 Our Assignment No_ 278699 2 Page No._____i.ine No.___Change to:
3 lN THE UNITED STATES DlSTRICT COURT 3
4 NORTHERN DiSTRlCT OF lLLlNOlS - EASTERN DlVlSlON 4 Reason for Changsf
5 COMMlTTEE FOR A FAlR AND ) 5 Page No.____Line No.______Change to'.
6 BALANCED MAP, et al,, ) 6
7 Plaintiffs, ) 7 Reason for change:
8 vs_ ) No. 1;11-cv.05065 8 Page No.____Line No._Change to:
9 lLLlNOlS STATE BOARD OF ) 9
10 ELECT|ONS, et a|t, ) 10 Reason for change:
11 Defendants. ) 11 Page No.____Line No.____Change to:
12 DECLARAT|ON UNDER PENALTY OF PERJURY 12
13 l declare under penalty of perjury that l 13 Reason for Change:
14 have read the entire transcript of my Deposition 14 Page NO-___Line NO-___Changs 101
15 taken in the captioned matter or the same has been 15
16 read to me, and the same is true and accurate, save 16 Reason for Change!
17 and except for changes and/or corrections, if 17 Page No-___Line No~____ChanQ€ fof
18 any, as indicated by me on the DEPOSiTlON 18
19 ERRATA SHEET hereof, with the understanding that l 19 Reason for Change:
20 offer these changes as if still under oath. 20 page No.__Line No.___Change to:
21 Signed on the day of 21
22 , 20___ 22 Reason for change:
23 23 SiGNATURE: DATE:
24 JUAN RANGEL 24 JUAN RANGEL
86
1 DEPOSiTlON ERRATA SHEET
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3
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